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12
                                  UNITED STATES DISTRICT COURT
13
                 NORTHERN DISTRICT OF CALIFORNIA – OAKLAND DIVISION
14
     WALTER SCOTT                                                     No. 4:20-cv-04875-JSW
15
                     Plaintiff,                                       FIRST AMENDED
16                                                                    COMPLAINT FOR:
17         vs.
                                                                          1. NEGLIGENCE
18   TESORO REFINING & MARKETING CO. and
     ANDEAVOR, LLC
19                                                                    DEMAND FOR JURY TRIAL
                     Defendants.
20
21
22          Plaintiff, WALTER SCOTT, alleges as follows:
23                                               PARTIES
24
            1.      Plaintiff is a citizen of the State of California and resides in Sacramento, California.
25
26
27
28
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 1          2.      Defendant Tesoro Refining & Marketing Company, LLC is a limited liability
 2   company doing business in the State of California. It is represented by counsel and has filed an
 3
     Answer to the present suit.
 4
            3.      Defendant Chris Nash Trucking, Inc. is a domestic for-profit corporation doing
 5
     business in the State of California. It may be served by and through its registered agent: Chris
 6
 7   Nash, 9243 Marlemont Circle, Elk Grove, California, 95758.

 8          4.      Alliance Tank Lines, Inc. is a domestic for-profit corporation doing business in the

 9   State of California. It may be served by and through its registered agent: Lourdes Monique
10   Guzman, 1055 Vaughn Road, Dixon, California 95620.
11
            5.      Defendant Pac West Trucking & Transportation, Inc. is a domestic for-profit
12
     corporation doing business in the State of California. It may be served by and through its registered
13
     agent: Terri E. Hunt, 2319 Vanderbilt Lane #B, Redondo Beach, California 90278.
14
15          6.      Defendant Joe Gomes Trucking, Inc. is a domestic for-profit corporation doing

16   business in the State of California. It may be served by and through its registered agent: Dorene

17   Lee Gomes, 35943 CR24, Woodland, California 95695.
18
                                     VENUE AND JURISDICTION
19
20          7.      This Court has subject matter jurisdiction over all claims pursuant to 28 U.S.C. §

21   1332(a)(1) by virtue of the fact that the controversy between all claimants exceeds the value of

22   $75,000 and, at the time of filing, complete diversity exists among the Parties.
23          8.      This Court has personal jurisdiction over Defendants, as Defendants conduct
24
     business in, and has sufficient minimum contacts with, the United States, and specifically, in this
25
     State. The exercise of personal jurisdiction is proper herein because Defendants’ contacts arise
26
     from and/or relate to business conducted in this State; specifically, the Martinez Refinery in
27
28
                               PLAINTIFF’S FIRST AMENDED COMPLAINT
                      WALTER SCOTT V. TESORO REFINING & MARKETING, ET AL. | 2
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 1   Martinez, California. Defendants each have purposefully established minimum contacts in the
 2   forum state either by conducting business specifically at the Martinez Refinery and/or presence
 3
     in California, invoking the benefits and protections of its laws. Therefore, specific jurisdiction
 4
     exists herein.
 5
             9.       Venue is proper in this Court because this matter arises out of events which
 6
 7   occurred within the jurisdictional boundaries of this Court. Moreover, Defendant Tesoro

 8   conceded that venue is proper in the United States District Court for the Northern District of

 9   California—Oakland Division. See ECF No. 8 (arguing that in the alternative of Defendants’
10   Motion, the proper venue is the Northern District of California—Oakland Division).
11
                                             BACKGROUND
12
             10.      Plaintiff is a gasoline and petroleum products hauler. On or about the morning of
13
     September 4, 2019, Plaintiff drove to Defendant Tesoro’s Refinery in Martinez, California in his
14
15   combination tractor-tanker to pick up a load of gasoline. After arriving on the premises, Plaintiff

16   pulled his rig into a loading terminal lane so that product could be loaded into his cargo tank. Once

17   he was properly positioned in the lane, Plaintiff made a complete stop and exited his truck to begin
18
     the loading process.
19
             11. The ground of loading terminal’s lane was saturated with an excess of petrochemical
20
     product and mud. Defendant Tesoro failed to clean and clear the loading bay area such that it was
21
     safe for workers to load rigs, like Plaintiff. The result of this mixture created an extremely slippery
22
23   surface, which Plaintiff would be forced to negotiate in order to complete his loading procedure

24   and pre-trip inspection. While circling around his truck, Plaintiff lost his footing and fell. But, the
25   lane was so slippery that Plaintiff did not fall directly to the ground—Plaintiff desperately
26
     attempted to maintain his balance and in the process, was caught in his tractor’s hose. As he was
27
     ensnared, he continued to fall. The force of Plaintiff’s tangled fall caused Plaintiff’s knees,
28
                                PLAINTIFF’S FIRST AMENDED COMPLAINT
                       WALTER SCOTT V. TESORO REFINING & MARKETING, ET AL. | 3
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 1   shoulder and back to “pop,” and Plaintiff landed facedown. Plaintiff blacked out thereafter. When
 2   he awoke, Plaintiff was suspended above the ground by his tangle, with only the brim of his hard
 3
     hat keeping his face from the submerging in the mud.
 4
            12. Shortly after Plaintiff regained consciousness, Plaintiff was assisted by Refinery
 5
     personnel to help extricate Plaintiff from his entanglement. It took three (3) Tesoro personnel and
 6
 7   several minutes to free Plaintiff because of the slippery surface and entangled hose. The force of

 8   the fall immediately caused Plaintiff pain to both of his knees, his shoulder, his back and his head.

 9          13. Earlier on the day of the incident, Defendants Chris Nash Trucking, Alliance, Pac West
10   and Gomes Trucking (the “Trucking Defendants”) each picked up loads at the Martinez Refinery,
11
     using the same loading terminals that Plaintiff would eventually use. However, as each Trucking
12
     Defendant used the lane, each failed to use reasonable care in loading, which cause and/or
13
     contributed to the collection of excess product, mud and debris that gathered in the lane. The
14
15   combination of the Trucking Defendants’ negligent loading with the Defendant Tesoro’s negligent

16   care of the premises proximately caused Plaintiff’s injuries. Further, the Defendants’ conscious

17   disregard of an objective, extreme degree of risk posed by the hazardous condition of the
18
     Refinery’s loading lane proximately caused Plaintiff’s injuries.
19
            14. After this incident, Plaintiff sought medical treatment for his injuries. Plaintiff
20
     continues to treat and has a long road to recovery.
21
                                NEGLIGENCE – ALL DEFENDANTS
22
23          15. Plaintiff re-alleges each aforementioned allegation. Defendants owed a duty of

24   reasonable care to the Plaintiff. Defendants breached the duty of reasonable care in one or more of
25   the following non-exclusive ways, among others:
26
            a. Failing to institute and enforce precautionary measures to protect individuals working
27             on the premises and work site;

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                               PLAINTIFF’S FIRST AMENDED COMPLAINT
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 1          b. Failing to properly and timely fix, and warn of, any job hazards;
 2          c. Failing to safely schedule and/or plan the work;
 3
            d. Failing to ensure the loading terminal was free and clear of potential hazards prior to
 4             allowing any personnel onto it;

 5          e. Failing to ensure safety personnel were in place;
 6          f. Failure to follow process safety measures as required by the industry standard;
 7
            g. Failure to reasonably carry out duties as per the contracts in place;
 8
            h. Failing to properly train and/or supervise those on site; and
 9
            i.    Failing to maintain a safe work environment for contractors at the facility.
10
11          18. Each of these acts and omissions, singularly or in combination with others, constitute

12   negligence which was the proximate cause of this incident and Plaintiff’s injuries.

13          16. As a direct and proximate result of the aforementioned negligence, carelessness, and
14   other tortious, unlawful and wrongful acts and omissions of each Defendant, and their respective
15
     agents, servants, employees and authorized representatives as aforesaid, Plaintiff has suffered
16
     damages in an amount to be proven at trial.
17
                                          PRAYER FOR RELIEF
18
19          17.      WHEREFORE, Plaintiff Walter Scott prays for judgment against Defendants as

20   follows:
21          a.       For general and special damages, according to proof;
22
            b.       For pre-and post-judgment interest, according to proof;
23
            c.       For costs of suit, including reasonable attorneys’ fees, as allowed by law; and
24
            d.       For such other and further relief that the Court may deem just and proper.
25
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                                 PLAINTIFF’S FIRST AMENDED COMPLAINT
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 1                                  DEMAND FOR JURY TRIAL
 2          18.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
 3
     demands a trial by jury.
 4
 5
                                                  Respectfully submitted,
 6
                                                  THE BUZBEE LAW FIRM
 7
                                                  By: /s/ Anthony G. Buzbee
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